                                             IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF MARYLAND
                                                         Southern Division

                                                                          *
KENNETH TAYLOR,
                                                                          *
              Plaintiffs,
                                                                          *
v.                                                                                   Case No.: PWG-13-1998
                                                                          *
SYLVIA MATHEWS BURWELL,1
 Secretary, U.S. Dep’t of Health & Human                                  *
 Services,
                                                                          *
              Defendant.
                                                                          *

*             *              *              *              *     *    *       *      *     *     *      *     *

                                                               MEMORANDUM OPINION2

              Plaintiff Kenneth Taylor brings this case under the Age Discrimination in Employment

Act (“ADEA”) alleging discrimination, hostile work environment, and retaliation against his

employer, the Food and Drug Administration.                                   Defendant Secretary of Health and Human

Services has moved to dismiss for failure to state a claim, arguing that Plaintiff has not shown

any age bias or adverse employment action, and suffered nothing more than the irritation and

inconveniences typical of many workplaces. Plaintiff has opposed the motion and also has

sought leave to amend his complaint. Because I agree with Defendant with respect to Plaintiff’s

claims for discrimination and hostile work environment, the motion to dismiss will be granted

                                                            
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       Secretary Burwell automatically is substituted for former-Secretary Sebelius, pursuant to
Fed. R. Civ. P. 25(d). The Clerk will be ordered to reflect this substitution on the docket.
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  This Memorandum Opinion disposes of (1) Defendant’s Motion to Dismiss, or in the
Alternative, for Summary Judgment, ECF No. 8, and supporting Memorandum, ECF No. 8-1;
Plaintiff Kenneth Taylor’s Opposition, ECF No. 16, and Corrected Opposition, ECF No. 17-1;
and Defendant’s Reply, ECF No. 18; and (2) Plaintiff’s Motion for Leave to File An Amended
Complaint, ECF No. 15; and Defendant’s Opposition, ECF No. 19.
                                                                           
 
with respect to those claims and Plaintiff’s proposed amendment will be denied as futile.

However, because Plaintiff has alleged a plausible claim for retaliation, and has sought to add

additional relevant allegations in his amendment, Plaintiff’s retaliation claim will be allowed to

proceed and the complaint amended with respect to that count.


I.            BACKGROUND

              For the purposes of considering Defendant’s motion, this Court accepts the facts that

Plaintiff has alleged in his Complaint as true. See Aziz v. Alcolac, 658 F.3d 388, 390 (4th Cir.

2011).3 Plaintiff Kenneth Taylor is a chemist who was born on October 15, 1964. Compl. ¶¶ 11,

13, ECF No. 1. He has worked for the Food and Drug Administration (the “FDA”), an agency

within the U.S. Department of Health and Human Services, since 2001, id. ¶ 12, and at the time

he filed his Complaint, had held the position of GS-14 Chemist for approximately twelve years,

id. ¶ 13. While at the FDA, Taylor worked in various units, including the Dietary Supplement

Regulations Implementation Team (“DSRIT”); Dietary Supplement Programs (“DDSP”); Office

of Nutrition, Labeling, and Dietary Supplements (“ONLDS”); and the Center for Food Safety

and Applied Nutrition (“CFSAN”).

              On March 14, 2011, Taylor’s “second line supervisor,” Daniel Fabricant, made two

remarks that Taylor perceived as “derogatory comments . . . regarding his age.” Id. ¶¶ 22–25.

Specifically, Fabricant told Taylor, “‘You have a problem with age,’” and said that “‘someone

who has been around as long as you have should have ideas.’” Id. ¶¶ 24–25.




                                                            
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  Because most of the amendments sought by Taylor are futile and will not be permitted, see
infra Part IV, I will rely on Taylor’s original Complaint for the facts, and not on his proposed
Amended Complaint, Pl.’s Mot. to Am. Ex., ECF No. 15-1.
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       On July 18, 2011, Fabricant took over as Taylor’s “first line supervisor.” Two days later,

on July 20, 2011, Fabricant scheduled a one-on-one meeting with Taylor on Taylor’s usual

telecommuting day and “ignored Taylor’s request to reschedule the meeting.” Id. ¶¶ 26–27.

“From July 20, 2011 to October 31, 2011, Taylor was forced to alter his work hours and

telecommuting schedule to accommodate meetings set by Fabricant.” Id. ¶ 28. This included a

meeting on October 27, 2011, that began fifteen minutes before Taylor’s usual, 9:15 a.m. arrival

time and, on October 31, 2011, scheduling a weekly team meeting for Mondays even though that

was Taylor’s usual telework day. Id. ¶¶ 29–32.

       In August 2011, Taylor applied for a position designated “‘Unclassified Duties,’

Advertisement Tracking Number (ATM): CDER-11-150-OCTEC.” Id. ¶ 38. To apply for the

position, Taylor required a supervisory concurrence from Fabricant, his supervisor. Id. ¶ 41.

Although Taylor sought Fabricant’s concurrence, Fabricant refused to provide it and, as a result,

Taylor’s application was not referred to the selecting official for the position. Id. ¶ 41–44.

       Also during this time, Taylor alleges that he was assigned clerical work inconsistent with

his pay grade. From August 2011 to October 2011, Taylor “was assigned duties that included

receipt dating, assigning invoice numbers, entering requests into the database, preparing copies,

printing addressing envelopes and mailings,” which were duties usually assigned to “a clerical

employee of a grade 9/11” and not to an employee of GS-14 like Taylor. Id. ¶¶ 35–37. Taylor

does not allege that his pay or title was changed in connection with these responsibilities.

       On October 31, 2011, Taylor filed a discrimination complaint “with the agency’s EEO

and Civil Rights office” id. ¶ 18, claiming that he was being discriminated against on the basis of

his age, id. ¶ 19. On December 12, 2011, Taylor filed a formal discrimination complaint, also

alleging age discrimination, against the FDA. Id. ¶¶ 20–21.

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              Thereafter, on January 24, 2012, Fabricant “intentionally sent an[] email to the entire

Dietary Supplement Regulations Implementation Team showing them an alleged mistake Taylor

made,” without first informing Taylor. Id. ¶¶ 45–46. The information in the email was false and

was sent with the intent publicly to embarrass Taylor and to “disparage [his] professional

reputation.” Id. ¶¶ 47–49. On January 27, 2012, Fabricant refused to allow Taylor to bring a

witness to a one-on-one meeting even though a counselor from the FDA’s Employee Assistance

Program had advised him to bring a witness and Taylor had requested one. Id. ¶¶ 50–55.

              Around that same time, Taylor had applied for an Acting Team Leader detail but, in

January 2012, Fabricant selected another employee, Ramadevi Gudi, instead of Taylor. Id. ¶ 55.

At that time, Taylor had eleven years of “FDA regulatory policy experience in dietary

supplement work” and Gudi had only eighteen months of similar experience. Id. ¶ 56.4

              “Between February 24 and February 29, 2012, Fabricant assigned Taylor to data mine

electronic files of documents, sort them electronically, and email approximately 250 data files,

which were assignments outside of [Taylor’s] responsible duties.” Id. ¶ 59. During that same

period, on February 27, 2012, “Fabricant allowed Corey Hilmas, an employee in his thirties to

yell at Taylor unjustifiably during at team meeting in front of Taylor’s colleagues.” Id. ¶ 57.

Fabricant also favored Hilmas more generally in making assignments. Id. ¶ 58.

              On March 13, 2012, Taylor amended his charge of age discrimination that he had filed in

December 2011. Id. ¶ 63. On January 23, 2013, Taylor withdrew the hearing request submitted

with his formal complaint and informed the EEOC that he wished to proceed in federal district

court. Id. ¶ 65. On April 19, 2013, Taylor received the final decision from the Secretary of


                                                            
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       I note that Taylor has not alleged that Gudi was younger than him and, in fact, Defendant
has asserted that Gudi is older than Taylor. Def.’s Dismiss Mem. 14, ECF No. 8-1.
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Health and Human Services, dismissing Taylor’s charge and informing him of his right to sue.

Id. ¶ 67.

              Taylor commenced this case by filing his three-count Complaint in this Court on July 10,

2013, alleging (I) age discrimination under the Age Discrimination in Employment Act of 1967

(“ADEA”), 29 U.S.C. § 621 et seq.; (II) retaliation under the ADEA; and (III) hostile work

environment under the ADEA.

              Defendant, the Secretary of Health and Human Services, filed a Motion to Dismiss, or in

the Alternative, for Summary Judgment (“Def.’s Mot. to Dismiss”), ECF No. 8, along with a

supporting Memorandum (“Def.’s Dismiss Mem.”), ECF No. 8-1, on November 13, 2013.

Taylor has opposed the motion (“Pl.’s Dismiss Opp’n”), ECF No. 16, and the next day filed an

Errata to Plaintiff’s Memorandum of Points and Authorities in Support of Plaintiff’s Opposition

to Defendant’s Motion to Dismiss, ECF No. 17, attaching what appears to be a corrected

Opposition (“Pl.’s Corr. Dismiss Opp’n”), ECF No. 17-1 and Defendant has replied (“Def.’s

Dismiss Reply”), ECF No. 18.

              Simultaneous with his opposition, Taylor also filed a Motion for Leave to File an

Amended Complaint (“Pl.’s Mot. to Am.”), ECF No. 15,5 seeking to add certain factual

allegations including, most significantly, an allegation that Fabricant refused to allow Taylor to

take a speaking opportunity that he was offered and a desirable work assignment and, instead,

assigned both to Hilmas, Redlined Am. Compl., Pl.’s Mot. to Am. Ex., ECF No. 15-2.


                                                            
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  The parties requested, and were granted, two extensions to Taylor’s time to respond to the
motion to dismiss, Orders, ECF No. 10 & 14, and his opposition was filed timely over a month
after Defendant filed her motion. But because Taylor did not seek additional time to amend his
complaint as a matter of course, that twenty-one-day deadline was not extended and Taylor
correctly has sought leave before amending his complaint. See Hayes v. District of Columbia,
275 F.R.D. 343, 345 (D.D.C. 2011).
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Defendant has opposed the Motion to Amend (“Def.’s Am. Opp’n”), ECF No. 19. Taylor has

not replied and the time to do so has passed. Loc. R. 105.2(a).

       Both motions are ripe and now are before me. Having reviewed the filings, I find a

hearing is not necessary. Loc. R. 105.6.

II.    STANDARD OF REVIEW – MOTION TO DISMISS

       Federal Rule of Civil Procedure 12(b)(6) provides for “the dismissal of a complaint if it

fails to state a claim upon which relief can be granted.” Velencia v. Drezhlo, No. RDB-12-237,

2012 WL 6562764, at *4 (D. Md. Dec. 13, 2012). This rule’s purpose “‘is to test the sufficiency

of a complaint and not to resolve contests surrounding the facts, the merits of a claim, or the

applicability of defenses.’” Id. (quoting Presley v. City of Charlottesville, 464 F.3d 480, 483 (4th

Cir. 2006)). To that end, the Court bears in mind the requirements of Fed. R. Civ. P. 8, Bell

Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009),

when considering a motion to dismiss pursuant to Rule 12(b)(6). Specifically, a complaint must

contain “a short and plain statement of the claim showing that the pleader is entitled to relief,”

Fed. R. Civ. P. 8(a)(2), and must state “a plausible claim for relief,” as “[t]hreadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not suffice,”

Iqbal, 556 U.S. at 678–79. See Velencia, 2012 WL 6562764, at *4 (discussing standard from

Iqbal and Twombly). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 663.

       Where a defendant files a motion styled as one to dismiss or, in the alternative, for

summary judgment, it “implicates the court’s discretion under Rule 12(d) of the Federal Rules of

Civil Procedure.” See Sager v. Hous. Comm’n, 855 F. Supp. 2d 524, 542 (D. Md. 2012).

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Pursuant to Rule 12(d), where “matters outside the pleadings are presented to and not excluded

by the court,” a motion to dismiss must be treated as one for summary judgment and all parties

must be given an opportunity to present evidence on their behalf. Fed. R. Civ. P. 12(d). Styling

a motion as one to dismiss or, in the alternative, for summary judgment is sufficient to provide

notice to all parties that the motion may be converted to one for summary judgment. Laughlin v.

Metro. Wash. Airports Auth., 149 F.3d 253, 260–61 (4th Cir. 1998).

       However, “a district judge has ‘complete discretion to determine whether or not to accept

the submission of any material beyond the pleadings that is offered in conjunction with a Rule

12(b)(6) motion and rely on it, thereby converting the motion, or to reject it or simply not

consider it.” Sager, 855 F. Supp. 2d at 542 (quoting 5C Charles Alan Wright et al., Federal

Practice & Procedure § 1366, at 159 (3d ed. 2004, 2011 Supp.)). “This discretion ‘should be

exercised with great caution and attention to the parties’ procedural rights.’ In general, courts

are guided by whether consideration of extraneous material ‘is likely to facilitate the disposition

of the action,’ and ‘whether discovery prior to the utilization of the summary judgment

procedure’ is necessary.” Id.

III.   DEFENDANT’S MOTION TO DISMISS

       A. Defendant’s 12(d) Motion

       At the outset, Defendant has attached exhibits to her Motion to Dismiss and asks that I

treat the motion as one for summary judgment under Fed. R. Civ. P. 12(d). See Def.’s Mot. to

Dismiss Exs. 1–3, ECF Nos. 8-2 to 8-4. However, I retain discretion to determine whether it is

appropriate to convert a 12(b)(6) motion into a motion for summary judgment. Sager v. Hous.

Comm’n, 855 F. Supp. 2d 524, 542 (D. Md. 2012). And “[o]rdinarily, summary judgment is not

appropriate ‘where the parties have not had an opportunity for reasonable discovery.’” Id.

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       Here, summary judgment would be particularly inappropriate. The exhibits attached by

Defendant do not establish the lack of a genuine issue of material fact. Defendant has attached a

copy of Taylor’s discrimination complaint from 2012, Def.’s Mot. to Dismiss Ex. 1, a letter

dismissing that complaint, Def.’s Mot. to Dismiss Ex. 2, and an affidavit from Fabricant

addressing some of Taylor’s claims, Fabricant Aff., Def.’s Mot. to Dismiss Ex. 3. In addition to

attaching exhibits of his own, Taylor has filed a Rule 56(d) affidavit stating that he needs the

opportunity to conduct discovery into, inter alia, whether Fabricant had legitimate,

nondiscriminatory justifications for his actions with respect to Taylor. See Rule 56(d) Aff., Pl.’s

Dismiss Mem. Ex., ECF No. 16-9.

       “Notably, ‘“Rule 56(d) affidavits cannot simply demand discovery for the sake of

discovery.”’ ‘Rather, to justify a denial of summary judgment on the grounds that additional

discovery is necessary, the facts identified in a Rule 56 affidavit must be “essential to [the]

opposition.”’” Sager, 855 F. Supp. at 543 (citations omitted) (emendation in original). Taylor

has spoken only in general terms about what discovery he would like to conduct, and has not

clearly linked that discovery with material issues of fact he expects to uncover.

       But because the development of the facts at this point—and the presentation of facts by

the movant—has been minimal, I find that conversion under Rule 12(d) would not be appropriate

here in any event. Accordingly, I will not convert the motion to one for summary judgment, and

will treat it only as a motion to dismiss.

       B. Count I : Age Discrimination

       Under the ADEA, an employer may not, inter alia, “discriminate against any individual

with respect to his compensation, terms, conditions, or privileges of employment, because of

such individual’s age.”      29 U.S.C. § 623(a)(1).      Count I of Taylor’s complaint alleges

employment discrimination under the ADEA. To establish a case of discrimination, a plaintiff
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must allege “(1) membership in a protected class; (2) satisfactory job performance; (3) an

adverse employment action; and (4) less favorable treatment than similarly situated employees

outside the protected class.” Linton v. Johns Hopkins Univ. Applied Physics Lab., LLC, No.

JKB-10-276, 2011 WL 4549177, at *5 (D. Md. Sept. 28, 2011) (citing White v. BFI Waste

Servs., 375 F.3d 288, 295 (4th Cir. 2004)). As a threshold issue, it is clear that Taylor has

alleged that he is a member of a protected class. He alleges that he was born on October 15,

1964, Compl. ¶ 11, and therefore was over forty at all times relevant to the Complaint, see 29

U.S.C. § 631(a) (restricting applicability of the ADEA to “individuals who are at least 40 years

of age”). However, Defendant argues that none of the allegedly discriminatory actions alleged in

the Complaint qualify as “adverse employment action” for the purposes of the ADEA. Def.’s

Dismiss Mem. 6.      “An adverse employment action is a discriminatory act that ‘adversely

affect[s] the terms, conditions, or benefits of the plaintiff’s employment.’” Holland v. Wash.

Homes, Inc., 487 F.3d 208. 219 (4th Cir. 2007) (quoting James v. Booz–Allen & Hamilton, Inc.,

368 F.3d 371, 375 (4th Cir. 2004) (emendation in original)). “An action that merely causes an

employee irritation or inconvenience, but does not affect a term, condition, or benefit of her

employment, is not an adverse employment action.” Spriggs v. Pub. Serv. Comm’n, 197 F.

Supp. 2d 388, 393 (D. Md. 2002).

       Taylor does not allege that he was fired, demoted, or had his pay reduced. Compl. He

expressly states that the fact that he did not receive the position of Acting Team Leader is not a

basis for his claim. Compl. ¶ 71. And in Taylor’s Corrected Opposition Memorandum, he

concedes that requiring him to change his telework schedule or arrival time to attend meetings

was not an adverse employment action. See Pl.’s Corr. Dismiss Opp’n 3 n.1; see also Parsons v.

Wynne, 221 F. App’x 197, 198 (4th Cir. 2007) (holding that removal from an alternate work


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schedule was not adverse employment action for purposes of Title VII). The only adverse

actions that he appears to allege were Fabricant assigning Taylor work below his pay grade, id. at

589, and Fabricant’s refusal to provide a supervisory concurrence to Taylor’s application for the

“Unclassified Duties” position, id. at 8–9.

       The allegation that Taylor temporarily was assigned clerical work below his pay grade

for three months in 2011 and for six days in early 2012, see Compl. ¶¶ 35–37, 58, does not

support a claim for discrimination. “The mere fact that a new job assignment is less appealing to

the employee [] does not constitute adverse employment action.” James v. Booz–Allen &

Hamilton, Inc., 368 F.3d 371, 376 (4th Cir. 2004). “[A]bsent any decrease in compensation, job

title, level of responsibility, or opportunity for promotion, reassignment to a new position

commensurate with one’s salary level does not constitute an adverse employment action . . . .”

Boone v. Goldin, 178 F.3d 253, 256 (4th Cir. 1999). Taylor does not allege that he was demoted

or that his pay was decreased, or even that he officially was reassigned, but only that he

temporarily received less desirable duties while retaining his existing title and salary.

Nevertheless, he asserts that the time he spent doing clerical work is actionable because it caused

his “skills to atrophy and reduce[d] future career prospects.” Pl.’s Corr. Dismiss Opp’n 6 (citing

Herrnreiter v. Chi. Hous. Auth., 315 F.3d 742, 744–45 (7th Cir. 2002).

       Courts regularly have found that temporary changes to an employee’s workload or to the

tasks he is assigned do not constitute an adverse employment action. See, e.g., Grimsley v.

Marshalls of MA, Inc., 284 F. App’x 604, 2008 WL 2435582, at *4 (11th Cir. 2008) (“Although

Grimsley’s workload sometimes increased and he was occasionally assigned additional tasks,

these kinds of temporary assignments, without a change in compensation or position, do not

amount to a ‘serious and material change in the terms, conditions, or privileges of


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employment.’”); McCants v. AT&T Corp., No. 04-74905, 2005 WL 3071840, at *2 (E.D. Mich.

Nov. 14, 2005) (noting that although plaintiff had alleged genuine adverse actions, the fact that

she was assigned clerical tasks was not an adverse action).              And this case easily is

distinguishable from Allen v. Napolitano, in which the court declined to dismiss a discrimination

claim that alleged that the plaintiff was being “excluded from certain meetings relevant to her

job.” 943 F. Supp. 2d 40, 45 (D.D.C. 2013) (emphasis added). Unlike Allen, Taylor does not

allege that he was being barred from performing his job properly, but only that he was above the

work that was assigned to him. Although he claims that a brief period of clerical work has

dulled his abilities and harmed his prospects, he has not “identif[ied] any materially adverse

consequences” such as “effects on [his] grade level, salary, or promotion opportunities.” Id.

Accordingly, this does not constitute an adverse employment action.

       With respect to the supervisory concurrence, even assuming that Fabricant’s actions

could be an adverse employment action, Taylor simply has failed to state a claim for

discrimination. First, although he vociferously maintains that Fabricant’s failure to provide a

supervisory concurrence was the reason why he did not receive consideration for the

Unclassified Duties position, see Compl. ¶ 44; Pl.’s Corr. Dismiss Opp’n 8, he does not allege or

argue that the refusal to provide a concurrence was the result of age discrimination, see Compl

¶¶ 38–44; Pl.’s Corr. Dismiss Opp’n 8. And as discussed infra, Fabricant’s isolated comments in

March 2011 are not sufficient to create an inference of discrimination in any event—much less to

show that, but for Taylor’s age, he would have provided the concurrence. See Gross v. FBL Fin.

Servs., Inc., 557 U.S. 167, 177 (2009) (“the plaintiff retains the burden . . . to establish that age

was the ‘but-for’ cause of the employer’s adverse action”). Second, Taylor also has not alleged

that other, similarly situated employees did receive supervisory concurrences from Fabricant


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under similar conditions. See Causey v. Balog, 162 F.3d 795, 802 (4th Cir. 1998) (affirming

dismissal of ADEA discriminatory discharge claim where there was no indication that plaintiff’s

position was offered to similarly situated individuals who were not members of the protected

class).

              Moreover, 29 C.F.R. § 1614.105(a)(1) requires an ADEA plaintiff to “initiate contact

with a Counselor within 45 days of the date of the matter alleged to be discriminatory or, in the

case of personnel action, within 45 days of the effective date of the action.” The Complaint

alleges that Taylor’s application for the Unclassified Duties position was received on August 29,

2011, Compl. ¶ 40, but that Taylor did not contact an EEO counselor until October 31, 2011,

Compl. ¶ 61, well over forty-five days from the alleged discriminatory act.6            Accordingly,

dismissal also is appropriate because Taylor did not pursue his administrative remedies in a

timely fashion. Landino v. Sapp, 520 F. App’x 195, 198 (4th Cir. 2013) (affirming dismissal of

claims not asserted within forty-five days).

              C. Count III: Hostile Work Environment

              To state a hostile work environment claim under the ADEA, a plaintiff “must allege that

(1) []he experienced unwelcome harassment; (2) the harassment was based on [his] . . . age; (3)

the harassment was sufficiently severe or pervasive to alter the conditions of employment and

create an abusive atmosphere; and (4) there is some basis for imposing liability on the

                                                            
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        Defendant argues that the relevant date for purposes of calculating the forty-five-day
period was March 14, 2011, when Fabricant made his allegedly discriminatory utterances.
Def.’s Dismiss Mem. 13. However, it appears that Fabricant’s alleged refusal to provide a
concurrence was a separate, independent action that started its own forty-five-day period
running. Taylor argues in his Corrected Opposition that he was within forty-five days because
he had a conversation with Fabricant as late as September 1, 2011, Pl.’s Corr. Dismiss Opp’n 8–
9, and that he did not learn that he did not receive the position until “the end of September,” id.
However, these allegations do not appear in the current Complaint, nor do they appear in the
Amended Complaint that Taylor seeks leave to file. See Redlined Am. Compl.
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employer.”     Bass v. E.I. DuPont de Nemours & Co., 324 F.3d 761, 765 (4th Cir. 2003).

Defendant argues that Taylor has not alleged that any alleged harassment was based on his age or

that it was sufficiently severe or pervasive to state a hostile work environment claim. Def.’s

Dismiss Mem. 19–21. Taylor does not provide a substantive response to Defendant’s arguments,

but conclusorily states, in a footnote, that “Plaintiff easily meets this test.” Def.’s Dismiss Opp’n

6 n.2.

         With respect to the second prong, “[i]t is axiomatic that a plaintiff’s mere speculation as

to racial or gender animus will not suffice to prove that []he suffered unwelcome conduct due to”

membership in a protected class. Alexander v. U.S. Dep’t of Veterans Affairs, No. DKC-10-

3168, 2012 WL 78874, at *5 (D. Md. Jan. 10, 2012).

         Taylor attempts to pin his hostile work environment claim on two statements made on the

same day by Fabricant when he was Taylor’s second line supervisor: “‘You have a problem with

age,’” and “‘someone who has been around as long as you have should have ideas.’” Compl.

¶¶ 24–25. According to Taylor, these comments were “derogatory,” id. ¶ 22, and they “show

that Defendant discriminated against Plaintiff based on his age,” id. ¶ 94. However, Taylor’s

allegations support no such conclusion. The mere statement that “someone who has been along

as [Taylor has] should have ideas” shows no animus at all—at the most, Taylor’s allegations

suggest that his age was discussed in relation to his job experience and abilities, and this cannot

suffice to allege a discriminatory motive. Cf. Khoury v. Meserve, 268 F. Supp. 2d 600, 613 (D.

Md. 2003) (questioning plaintiff about her background and when she learned English while

criticizing her writing ability was, at most, circumstantial evidence insufficient to support an

inference of discrimination); see also Iqbal, 556 U.S. at 663 (requiring plaintiff to plead

sufficient factual content to allow for an inference that defendant is liable). The statement that


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Taylor “ha[s] a problem with age” is less clear, but I still do not find that a single, isolated

comment—particularly in the absence of any context imbuing it with significance—can support

a finding of age bias, much less that that bias animated a pervasive course of discriminatory

actions by Fabricant. Compare Denio v. Asplundh Tree Expert Co., 92 F.3d 1177, 1996 WL

423125, at *4 (4th Cir. 1996) (unpublished table decision) (“Statements that merely make

observations of a generational change without suggesting that older employees ought to be

replaced by more youthful ones are not sufficient to infer discrimination.”), with Harris v.

Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (describing a hostile work environment as one

“permeated with ‘discriminatory intimidation, ridicule, and insult’” (quoting Meritor Savings

Bank, FSB v. Vinson, 477 U.S. 57, 65 (1986)). “Moreover, statements about age may well not

carry the same animus as those about race or gender. Unlike race or gender differences, age does

not create a true we/they situation—barring unfortunate events, everyone will enter the protected

group at some point in their lives.” Birkbeck v. Marvel Lighting Corp., 30 F.3d 507, 512 (4th

Cir. 1994).

       In any event, Taylor states that he “does not allege that the subject discriminatory

comments are direct evidence of discrimination.” Pl.’s Corr. Dismiss Opp’n 9–10. And the fact

that both of Fabricant’s comments were made several months before he became Taylor’s first

line supervisor further diminish their significance. See Birkbeck, 30 F.3d at 511–12.

       And even if Taylor had alleged that Fabricant’s conduct was motivated by age bias,

Taylor has not alleged harassment or discriminatory conduct that was “severe and pervasive,” a

demanding standard designed to “filter out complaints attaching ‘the ordinary tribulations of the

workplace, such as the sporadic use of abusive language, gender-related jokes, and occasional

teasing.’” Faragher v. City of Boca Raton, 524 U.S. 775, 788 (1998).


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       Taylor alleges a course of harassment over several months that included having to alter

his telecommuting schedule or come to work fifteen minutes early to attend meetings, Compl. ¶¶

26–32, being assigned duties below his pay grade, id. ¶¶ 35–37, 58, being publicly and

improperly called out for an alleged error, id. ¶¶ 45–49, being yelled at once during a meeting,

id. ¶ 57, and receiving less favorable assignments and treatment than other coworkers, id. ¶¶ 50–

58. However, the conduct alleged by Taylor is quite similar to the facts alleged in a recent

Fourth Circuit case, Buchhagen v. ICF Int’l, Inc., 545 F. App’x 217 (4th Cir. 2013). In that case,

the plaintiff alleged that her supervisor created a hostile work environment by:

       “mockingly” yelling at [plaintiff] in one meeting; yelling and pounding her hands
       on her desk during another meeting; “repeatedly harp[ing]” on a mistake made by
       [plaintiff] in October 2009; making “snide comments” to [plaintiff]; playing
       favorites with employees and pitting employees against each other; and unfairly
       scrutinizing and criticizing [plaintiff’s] use of leave and compliance with [her
       supervisor’s] directives.


Id. at 219. The Fourth Circuit upheld the dismissal of the plaintiff’s complaint, observing not

only that these allegations were “conclusory and lack sufficient factual support,” but that “[i]n

any event, the conduct alleged falls far short of being severe or pervasive enough to establish an

abusive environment.” Id. Accordingly, Count III of Taylor’s complaint, alleging a hostile work

environment, must be dismissed.

       D. Count II: Retaliation

        The ADEA also makes it “unlawful for an employer to discriminate against any of his

employees . . . because such individual . . . has opposed any practice made unlawful” by the

ADEA. 29 U.S.C. § 623(d). To succeed on a retaliation claim, “a plaintiff must show that (1) he

was engaged in protected activity, (2) the defendant acted adversely against him, and (3) . . .




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there was a causal connection between the first two elements.” Banhi v. Papa John’s USA, Inc.,

No. RWT-12-665, 2013 WL 3788573, at *7 (D. Md. July 18, 2013).

        Taylor alleges that he contacted an EEO counselor initially on October 31, 2011, Compl.

¶ 61, and filed a formal complaint on December 14, 2011, id. ¶ 62. Defendant concedes that

Taylor has satisfied the first element of a retaliation claim, Def.’s Dismiss Mem. 15, but argues

that the allegedly retaliatory actions taken by Fabricant do not constitute “adverse employment

action” sufficient to support a finding of retaliation. Id. The Supreme Court has rejected the

notion that the basis for a retaliation claim must “adversely [affect] ‘the terms, conditions, or

benefits’ of the plaintiff’s employment,” Von Gunten v. Maryland, 243 F.3d 858, 865 (4th Cir.

2001), abrogated by Burlington N. and Sante Fe Ry. Co. v. White, 548 U.S. 53 (2006), and

instead has instructed that “[t]he scope of the antiretaliation provision extends beyond

workplace-related or employment-related retaliatory acts and harm.” Burlington N. and Santa

Fe. Ry. Co. v. White, 548 U.S. 53, 67 (2006) (abrogating Von Gunten v. Maryland, 243 F.3d 858,

863 (4th Cir. 2001) (requiring proof of adverse employment action)). Rather, all that is required

is that the action be one that “a reasonable employee would have found . . . materially adverse,

‘which in this context means it might well have “dissuaded a reasonable worker from making or

supporting a charge of discrimination.”’” Id. at 68 (quoting Rochon v. Gonzales, 438 F.3d 1211,

1219 (D.C. Cir. 2006)); see also Caldwell v. Johnson, 289 F. App’x 579, 592 (4th Cir. 2008)

(applying same standard to federal employees). In contrast, “normally petty slights, minor

annoyances, and a simple lack of good manners will not create such deterrence.”) Id.

        Materially adverse actions in the retaliation context have included those that may not

have been sufficiently adverse to support a discrimination claim. For example, the Fourth

Circuit has approved of claims based on the denial of sick leave, Wells v. Gates, 336 F. App’x



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378, 385 (4th Cir. 2009), threats combined with altering an employee’s performance

expectations and attempts to replace an employee while on sick leave, Maron v. Va. Polytechnic

Inst. & State Univ., 508 F. App’x 226, 230–31 (4th Cir. 2013), or revoking funds that previously

had been promised, A Soc’y Without a Name v. Virginia, 655 F.3d 342, 352 (4th Cir. 2011). In

contrast, not responding to an employee’s phone calls, assigning difficult work, and requiring a

pregnant employee to walk were found to be only trivial harms insufficient to support a

retaliation claim. Brockman v. Snow, 217 F. App’x 201, 206–07 (4th Cir. 2007).

        Taylor alleges at least five possible actions that he argues were retaliatory: (1)

forwarding an e-mail to the DSRIT team showing a mistake Taylor had made; (2) refusing to

allow Taylor to bring a witness to a one-on-one meeting; (3) passing over Taylor for an Acting

Team Leader detail; (4) assigning Taylor clerical work over six days in February; and (5)

allowing Hilmas to yell at Taylor at a meeting. Compl.

        At least three of these alleged actions simply cannot support a claim for retaliation.

Publicly calling Taylor out for a single alleged mistake—even if, as alleged, the criticism was

inaccurate, Compl. ¶ 47—and allowing another employee to yell at Taylor on one occasion are

not the sorts of harms that would dissuade an employee from reporting discrimination. “An

employee’s decision to report discriminatory behavior cannot immunize that employee from

those petty slights or minor annoyances that often take place at work and that all employees

experience.” White, 548 U.S. at 68. Similarly, I cannot discern how Taylor was harmed by

Fabricant’s insistence on meeting with him one-on-one, rather than allowing a witness, where

there is no indication that anything inappropriate transpired at that meeting. See Compl. ¶ 53–55.

        However, reassigning an employee to undesirable work, which Taylor appears to allege

occurred between February 24 and 29, 2013, Compl. ¶ 59, can under some circumstances be



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sufficiently adverse to support a retaliation claim. See Barnabas v. Bd. of Trustees, 686 F. Supp.

2d 95, 105–06 (D.D.C. 2010) (finding that a reduction in duties could support a retaliation

claim). And although the denial of an Acting Team Leader position, Compl. ¶ 55, cannot be the

basis of a discrimination claim, see Bruder v. Chu, 953 F. Supp. 2d 234, 240 (D.D.C. 2013)

(“‘[D]enial of an acting position—without showing some further harm—does not by itself

qualify as an adverse employment action.’” (quoting Glenn v. Williams, No. Civ. A. 98-

1278(CKK), 2006 WL 401816, at *17 (D.D.C. Feb. 21, 2006)), I am not convinced that, in the

wake of Burlington Northern, being denied a desirable position could not be the basis for an

ADEA retaliation claim.

        With respect to causation, Taylor’s only allegation is that the allegedly retaliatory acts

occurred within four months after he lodged his age discrimination complaint. “While this proof

far from conclusively establishes the requisite causal connection, it certainly satisfies the less

onerous burden of making a prima facie case of causality.” Williams v. Cerberonics, Inc., 871

F.2d 452, 457 (4th Cir. 1989) (plaintiff made out a prima facie case of retaliation where she was

terminated within four months after filing discrimination charge).

        Accordingly, Taylor’s retaliation claim can survive a motion to dismiss by a mere hair’s

breadth and Defendant’s motion will be DENIED with respect to Count III.

       IV.     Motion for Leave to Amend

       In addition to opposing Defendant’s Motion to Dismiss, Taylor has sought leave to

amend his complaint. Pl.’s Mot. to Am. Fed. R. Civ. P. 15(a)(2) provides that the “court should

freely give leave [to amend] when justice so requires.” “Of course, the grant or denial of an

opportunity to amend is within the discretion of the District Court, but outright refusal to grant

the leave without any justifying reason appearing for the denial is not an exercise of discretion; it



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is merely an abuse of that discretion and inconsistent with the spirit of the Federal Rules.”

Foman v. Davis, 371 U.S. 178, 182 (1962). The Fourth Circuit has explained that leave to

amend should be denied “‘only when the amendment would be prejudicial to the opposing party,

there has been bad faith on the part of the moving party, or the amendment would have been

futile.’” Laber v. Harvey, 438 F.3d 404, 426 (4th Cir. 2006). Defendant argues that the

proposed amendment should be denied as futile. Def.’s Am. Opp’n.

       Taylor seeks to add several allegations to his complaint, specifically that:

             Fabricant purposely scheduled meetings for days when he knew Taylor was

              unable to attend because they were his telework day, Redlined Am. Compl. ¶ 33,

              Pl.’s Mot. to Am. Ex. 2, ECF No. 15-2;

             Being assigned clerical work “caused Taylor’s skills to atrophy,” id. ¶ 39;

             The reason why Taylor was not given the Unclassified Duties position was

              because Fabricant did not provide a supervisory concurrence, id. ¶ 47;

             In October 2011, Hilmas was directed to speak at a convention in California even

              though Taylor specifically had been requested to speak at that conference and

              Taylor believes that decision was made because Hilmas is closer in age to

              Fabricant than Taylor is, id. ¶¶ 48–50;

             In November 2011, Fabricant reassigned to Hilmas a prestigious project that

              Taylor had been working on, id. ¶¶ 51–54.

       Several of these allegations do nothing to remedy the shortcomings of the original

Complaint. As I explained above, it simply was not an adverse employment action to schedule

meetings at a time that was inconvenient for Taylor. See supra. Although Taylor continues to

focus on the link between Fabricant’s failure to provide a supervisory concurrence and his not


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being awarded the Unclassified Duties position, he still has failed to allege that Fabricant’s

failure was the result of discrimination. See supra. And the allegation that being assigned

clerical work caused the skills that Taylor had acquired over a decade to atrophy over the space

of three months, in addition to being dubious, also is conclusory and provides no indication

either of how Taylor’s skills atrophied during this short period or that such atrophy had any

effect on his job prospects. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

       The mere fact that Hilmas was sent to speak at the convention in California, without

more, also does not support a claim for age discrimination. “An action that merely causes an

employee irritation or inconvenience, but does not affect a term, condition, or benefit of her

employment, is not an adverse employment action.” Spriggs v. Pub. Serv. Comm’n, 197 F.

Supp. 2d 388, 393 (D. Md. 2002). It does not appear that simply not being sent to a conference

affected a term, condition, or benefit of Taylor’s employment. And in any event, the mere fact

that Fabricant may have favored Hilmas does not, without more, translate into discrimination

against Taylor on the basis of age. See Sales v. Dep’t of Justice, 549 F. Supp. 1176, 1182

(D.D.C. 1982) (“Yet, even assuming plaintiff’s supervisors did have favorites, that fact alone

does not translate into discrimination against the plaintiff on the basis of his . . . age.”). And

because the convention occurred before Taylor lodged his EEO complaint at the end of October

2011, the decision cannot have been retaliatory.

       In contrast, although it is not clear that removing Taylor from a particular project in

November 2011 would qualify as an adverse employment action for the purposes of a

discrimination claim, it occurred less than a month after Taylor’s EEO complaint. See supra.


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This would allow for a presumption that it was retaliatory and, for the reasons discussed above,

removing Taylor from desirable work could constitute actionable retaliation.       Accordingly,

adding this allegation to the complaint is not futile and Taylor must be permitted to amend his

complaint with respect to it.    Although the majority of Taylor’s Motion to Amend must be

DENIED, it must be GRANTED with respect to Count II.

V.     CONCLUSION


       Accordingly, Defendant’s Motion to Dismiss will be GRANTED with respect to Counts I

and III, and otherwise DENIED; Plaintiff’s Motion to Amend will be GRANTED with respect to

Count II, and otherwise DENIED.


       Defendant SHALL HAVE twenty-one (21) days to answer the Complaint.


       In addition, the Clerk SHALL SUBSTITUTE Secretary Burwell as the Defendant

pursuant to Fed. R. Civ. P. 25(d).




       A separate order shall issue.


Dated: July 16, 2014                                               /S/
                                                           Paul W. Grimm
                                                           United States District Judge
dsy




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